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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

       SEU 1 A KEE .E, MELODY FOUNTILA, MARK) Case No.: 4:22-cv-01587-JSW
       MCCLURE,                             )
 14                                         )  DECLARATION OF SELINA KEENE
           Plaintiffs,                      ) IN SUPPORT OF MOTION FOR
 !5 '                                       ) PRELIMINARY INJUNCTION
      v.                                     )
16
                                                               )
    17 , CITY A D COU TY OF SAN FRANCISCO;                     )
       '' LO DO BREED, Mayor of San Francisco in her           ) D_ate: July82022
   l 8 official capacity· CAROL ISEN Human Resources           ) Tune:9:00 AM
        , Director, City and County of San Francisco, in her   ) Courtroom: 5
 l 9 ! official capacity; DOES1-10 0,                          )
20                                                             )
              Defendants.
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                                         DECLARATION OF SELINA R. KEE E

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